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 5                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
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 7   UNITED STATES OF AMERICA,
                                                   NO: 2:13-CR-0024-TOR-1
 8                             Plaintiff,
                                                   ORDER GRANTING DEFENDANT’S
 9         v.                                      MOTION TO MODIFY CONDITIONS
                                                   OF RELEASE
10   RHONDA FIRESTACK-HARVEY,

11                             Defendant.

12         BEFORE THE COURT is Defendant’s Motion to Modify Conditions of

13   Release (ECF No. 804). The motion was submitted for consideration without oral

14   argument. The Court has reviewed the motion and the file therein and is fully

15   informed.

16         On October 13, 2015, the Court issued an order granting Defendant

17   permission to travel to and reside in Kirkland, Washington, until December 31,

18   2015, while she recuperates from a recent medical procedure. Defendant now seeks

19   to further modify her conditions of release to allow her to reside in Kirkland with

20   her son’s girlfriend on a more permanent basis. Beyond the request to change her


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 1   residence, Defendant also requests that the Court allow her blanket permission to

 2   travel between Kirkland, Spokane, and Colville, Washington without seeking

 3   advance approval of her probation officer, and finally, to terminate her curfew

 4   condition. The Defendant has been granted permission to travel on several

 5   occasions during the pendency of this matter with no problems and has otherwise

 6   abided by all conditions of her release, to include her curfew. In her motion, the

 7   Defendant notes that neither the government nor the probation office are opposed

 8   to the proposed changes in her release conditions. The United States Probation

 9   Officer has been contacted and does not oppose the request, but indicates that a

10   transfer of supervision to the United States Probation Office for the Western

11   District of Washington may be required and expressed concern about whether

12   Defendant’s conditions of release allow for contact with her son, and co-

13   Defendant, Rolland Gregg. Based on the Defendant’s previous good conduct while

14   under conditions of pre-trial and post-trial release, the Court finds that good cause

15   exists to again modify Defendant’s conditions of release and allow her to reside in

16   Kirkland, Washington until the conclusion of the appeal in this matter; to allow her

17   to travel between the western and eastern districts of Washington without seeking

18   advance permission of the United States Probation Office; and to terminate the

19   curfew provision of her supervised release. Finally, the Court sees no reason to

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 1   prohibit contact between Defendant and her son, and co-Defendant, Rolland

 2   Gregg.

 3          ACCORDINGLY, IT IS HEREBY ORDERED:

 4          1. Defendant’s Motion to Modify Conditions of Release (ECF No. 804)

 5   is GRANTED.

 6          2. Defendant is permitted to reside in Kirkland, Washington, until the

 7   conclusion of the appeal in this matter.

 8          3. Defendant is allowed to travel between the eastern and western districts

 9   of Washington without seeking advance permission from the U.S. Probation

10   Office.

11          4. If directed by the United States Probation Office and approved by the

12   Chief Judge for the Western District of Washington, Defendant’s supervision may

13   be transferred to that district.

14          5. Defendant’s curfew restriction is terminated from her conditions of

15   supervision.

16          6. Defendant is not prohibited from communicating with her son, and co-

17   Defendant, Rolland Gregg or residing with her son.

18          7. All other terms and conditions of Defendant’s post-trial supervision

19   remain in effect.

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 1         The District Court Executive is hereby directed to enter this Order and

 2   furnish copies to counsel.

 3         DATED December 1, 2015.

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 5                                   THOMAS O. RICE
                                  United States District Judge
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     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY CONDITIONS
     OF RELEASE ~ 4
